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      c. Experts. Every party-proponent of a claim (including any counterclaim, cross-
         claim, or third-party claim) that intends to offer expert testimony in respect of
         such claim must make the disclosures required by Fed. R. Civ. P. 26(a)(2) by
         _______________.
               August 9, 2024  Every party-opponent of such claim that intends to offer
         expert testimony in opposition to such claim must make the disclosures required
         by Fed. R. Civ. P. 26(a)(2) by _______________.
                                            September 6, 2024
                                                              No expert testimony (whether
         designated as “rebuttal” or otherwise) will be permitted by other experts or
         beyond the scope of the opinions covered by the aforesaid disclosures except
         upon prior express permission of the Court, application for which must be made
         no later than 10 days after the date specified in the immediately preceding
         sentence. All experts may be deposed, but such depositions must occur within
         the time limit for all depositions set forth below.

      d. Depositions. All depositions (including any expert depositions, see item 5(c)
         above) must be completed by _______________.
                                                October 4, 2024 Unless counsel agree
         otherwise or the Court so orders, depositions shall not commence until all
         parties have completed the initial disclosures required by Fed. R. Civ. P.
         26(a)(1) or until four weeks from the date of this Order, whichever is earlier.
         Depositions shall proceed concurrently, with no party having priority, and no
         deposition shall extend beyond one business day without prior leave of the
         Court.

      e. Request to Admit. Requests to Admit, if any, must be served by ____________
                                                                                  August 9, 2024


         [insert date that is no later than 30 days prior to date of close of discovery as set
         forth in item 5(f) below].

      f. All discovery is to be completed by _______________.
                                                     October 4, 2024 Interim deadlines for
         items 5(a-e) above may be extended by the parties on consent without
         application to the Court, provided the parties are certain they can still meet the
         discovery completion date set forth in this paragraph. The discovery completion
         date may be adjourned only upon a showing to the Court of extraordinary
         circumstances, and may not be extended on consent.

6.    Post-discovery summary judgment motions in the form prescribed by the Court’s
      Individual Practices shall be served by _______________,
                                                    October 18, 2024  answering papers by
      _______________,
          November 8, 2024 and reply papers by _______________.
                                                  November 22, 2024  Each party must file its
      respective papers on the same date that such papers are served.

7.    A final pre-trial conference shall be held on [date to be inserted by the Court]. The
      timing and other requirements for the Joint Pretrial Order and/or other pre-trial
      submissions shall be governed by the Court’s Individual Practices.

8.    Jury selection (if applicable) and trial shall commence on [date to be inserted by
      the Court].



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      9.     All motions and applications shall be governed by Judge Subramanian’s Individual
             Practices. Counsel shall promptly familiarize themselves with all of the Court’s
             Individual Practices, as well as with the Local Rules for the United States District
             Court for the Southern District of New York.




       SO ORDERED.

Dated: December 11, 2023
       New York, New York



                                                              ARUN SUBRAMANIAN
                                                              United States District Judge




Because the parties have submitted this case-management plan,
their request to cancel the December 14 conference is
GRANTED. The Clerk of Court is directed to close ECF 52.
SO ORDERED.




Arun Subramanian, U.S.D.J.
Date: December 11, 2023




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